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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:11-CR-327-PMP-(CWH)
                                                         )
11    ANGEL SESTEAGA,                                    )
                                                         )
12                           Defendant.                  )

13                             PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on September 27, 2012, defendant ANGEL SESTEAGA pled guilty to

15    Counts One and Two of a Nine-Count Criminal Indictment charging him in Count One with

16    Conspiracy to Distribute a Controlled Substance in violation of Title 21, United States Code, Sections

17    841(a)(1) and 846; and in Count Two with Conspiracy to Unlawfully Deal in Firearms in violation

18    of Title 18, United States Code, Sections 922(a)(1) and 371. Criminal Indictment, ECF No. 1; Plea

19    Memorandum, ECF No. 83; Minutes of Change of Plea Proceedings, ECF No. 82.

20            This Court finds defendant ANGEL SESTEAGA agreed to the forfeiture of the property set

21    forth in the Forfeiture Allegations of the Criminal Indictment and the Plea Memorandum. Criminal

22    Indictment, ECF No. 1; Plea Memorandum, ECF No. 83.

23            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

24    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

25    Criminal Indictment and the Plea Agreement and the offense to which defendant ANGEL SESTEAGA

26    pled guilty.
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 1            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
 2    924(d)(1) and Title 28, United States Code, Section 2461(c); Title 26, United States Code, Section
 3    5872(a) and Title 28, United States Code, Section 2461(c):
 4            (a)    Maverick model 88, 12 gauge short-barreled shotgun, serial number MV04934G;
 5            (b)    Mossberg, model 500A, 12 gauge shotgun, serial number L244961;
 6            (c)    Intratec Model Tec-9, 9mm, serial number 23988;
 7            (d)    Russian SKS 7.62X39 rifle, with bayonet, serial number 9937905;
 8            (e)    Beretta, model 92FS Compact 9mm pistol, serial number E31982Z;
 9            (f)    a homemade Mac-11 type 9mm pistol;
10            (g)    Keltic, CNC Industries, Inc. P11 pistol 9mm, serial number ASK60;
11            (h)    any and all ammunition;
12            (i)    an in personam criminal forfeiture money judgment of $900.00 in United States
13            Currency; and
14            (j)    an in personam criminal forfeiture money judgment of $300.00 in United States
15            Currency (“property”).
16            This Court finds the United States of America is now entitled to, and should, reduce the
17    aforementioned property to the possession of the United States of America.
18            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
19    United States of America should seize the aforementioned property.
20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
21    ANGEL SESTEAGA in the aforementioned property is forfeited and is vested in the United States
22    of America and shall be safely held by the United States of America until further order of the Court.
23            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
24    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
25    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
26    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

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 1    the name and contact information for the government attorney to be served with the petition, pursuant
 2    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
 3            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
 4    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
 5            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
 6    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
 7    following address at the time of filing:
 8                   Michael A. Humphreys
                     Assistant United States Attorney
 9                   Daniel D. Hollingsworth
                     Assistant United States Attorney
10                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
11                   Las Vegas, Nevada 89101.
12            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
13    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
14    following publication of notice of seizure and intent to administratively forfeit the above-described
15    property.
16                         9th day
              DATED this ______ dayofofOctober, 2012.
                                        __________________, 2012.
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20                                                 UNITED STATES DISTRICT JUDGE
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 1                                          PROOF OF SERVICE
 2            I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following
 3    individuals were served with copies of the Preliminary Order of Forfeiture on October 5, 2012 by the
 4    below identified method of service:
 5            CM/ECF:
 6    Michael Ryan Pandullo
      700 S. Third Street
 7    Las Vegas, NV 89101
      micahel.pandullo@gmail.com
 8    Counsel for Michael Paul Matulich
 9    Krystallin D. Hernandez
      Robert Langford & Associates
10    616 South 8th Street
      Las Vegas, NV 89101
11    krystallin@robertlangford.com
      Counsel for Bo Arden Ellison
12
      James Hartsell
13    Law Offices of James Hartsell
      720 S. 4th St. Suite 100
14    Las Vegas, NV 89101
      james@hartselllaw.com
15    Counsel for Michael Clyde Duty
16    Richard F. Boulware
      Federal Public Defender
17    411 E. Bonneville Suite 250
      Las Vegas, NV 89101
18    Richard_Boulware@fd.org
      Counsel for Angel Sesteaga
19

20

21                                          /s/Ray Southwick
                                            Ray Southwick
22                                          Forfeiture Support Associates Paralegal
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